05/2023                         Case 2:24-cv-00921-AB Document 1-6 Filed 03/03/24 Page 1 of 1
                                                           UNITED STATES DISTRICT COURT
                                                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                                              DESIGNATION FORM
                              (to be used by counsel to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                         LAGOTRONICS PHILIPPINES INC., Warehouse No. 5 Themebuilders Compound Sitio Cubol, Brgy, Sapalibutad
    Address of Plaintiff:
                         2009 Angeles City, Pampanga Philippines
    Address of Defendant:_______________________________________________________________________________________
                          KERN STUDIOS, LLC, 1380 Port of New Orleans Place New Orleans, LA 70130
                                                 Angeles City, Pampanga Philippines
    Place of Accident, Incident or Transaction:_______________________________________________________________________

      RELATED CASE IF ANY:
      Case Number:______________________ Judge:________________________________ Date Terminated____________________
      Civil cases are deemed related when Yes is answered to any of the following questions:
           1.    Is this case related to property included in an earlier numbered suit pending or within one year                                   Yes             No X
                 previously terminated action in this court?
           2.    Does this case involve the same issue of fact or grow out of the same transaction as a prior suit
                 Pending or within one year previously terminated action in this court?                                                             Yes             No         X
           3.    Does this case involve the validity or infringement of a patent already in suit or any earlier
                 Numbered case pending or within one year previously terminated action of this court?                                               Yes             No         X
           4.    Is this case a second or successive habeas corpus, social security appeal, or pro se case filed
                 by the same individual?                                                                                                            Yes             No X
      I certify that, to my knowledge, the within case                 is / X is not related to any now pending or within one year previously terminated
      action in this court except as note above.
      DATE:                                    ____________________________________
                                                  /s/ Jonathan H. Rudd                                                         ________________________________
                                                                                                                                    56880
                                                      Attorney-at-Law (Must sign above)                                             Attorney I.D. # (if applicable)



      Civil (Place a √ in one category only)

           A.    Federal Question Cases:                                                                    B. Diversity Jurisdiction Cases:

                 1.  Indemnity Contract, Marine Contract, and All Other Contracts)       X 1. Insurance Contract and Other Contracts
                 2.  FELA                                                                   2. Airplane Personal Injury
                 3.  Jones Act-Personal Injury                                              3. Assault, Defamation
                 4.  Antitrust                                                              4. Marine Personal Injury
                 5.  Wage and Hour Class Action/Collective Action                           5. Motor Vehicle Personal Injury
                 6.  Patent                                                                 6. Other Personal Injury (Please specify):________________
                 7.  Copyright/Trademark                                                    7. Products Liability
                 8.  Employment                                                             8. All Other Diversity Cases: (Please specify)______________
                 9.  Labor-Management Relations                                                _____________________
                 10. Civil Rights
                 11. Habeas Corpus
                 12. Securities Cases
                 13. Social Security Review Cases
                 14. Qui Tam Cases
                 15. All Other Federal Question Cases. (Please specify):_____________________________



                                                                           ARBITRATION CERTIFICATION
                                                   (The effect of this certification is to remove the case from eligibility for arbitration)

      I, _________________________________, counsel of record or pro se plaintiff, do hereby certify:

                          Pursuant to Local Civil Rule 53.2 § 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action
                          case exceed the sum of $150,000.00 exclusive of interest and costs:

                          Relief other than monetary damages is sought.


      DATE: ____________________________                              ______________________________________                            __________________________________
                                                                      Attorney-at-Law (Sign here if applicable)                                Attorney ID # (if applicable)

      NOTE: A trial de novo will be a jury only if there has been compliance with F.R.C.P. 38.
